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AO 91 (Rev, 5/85) Criminal Complaint ®

 

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SOUTHERN

UNlTED STATES OF AMER|CA

V.
l) LOPEZ~Camarillo, Ramiro
Mexican Citizen - 1973

;?) TORRES-Elizondo, Hugo Silver
Mexican Citizen - 1980

(Name and Address of Defendant)
aig 19 watched

 

JUN 1 7 2008
DISTRICT oF TEXAS
Michael N. Milby, Clerk
CRIMINAL COMPLAINT

CASE NUl\/|BER:

MVOY'B% tv ' M

l, the undersigned complainant being duly sworn state the following is true and correct to the best ot my

knowledge and belief. On or June 16, 2008

Southern DBUEtOf Texas

in Hidalg© County, in the

defendant($) did, (Track Statuiory Language of Olfense)

Knowingly and intentionally conspire and possess With the intent to distribute more than 50

kgs. of methamphetamine, that is approx.

95.8 kgs. of methamphetamine, a Schedule II

controlled substance, knowingly and intentionally Possess With the Intent to Distribute less
than 50 kgs. of Heroin, that is approx. 8.4 kgs. of Heroin, a Schedule II Controlled
Substance, knowingly and intentionally Possess With the Intent to Distribute less than 50

kgs. of cocaine, that is approx. l3 kgs.

in violation of Tit|e 2l United States

| further state that | am a(n) TaSk FOrCe Officer
Ofiicial Title

facts:
See Attachment .

Continued on the attached sheet and made a part

 

Sworn to before me, and subscribed in my presence,

June 17, 2008
Date

Dorina Ramos, U. S. Magistrate Judge
Name and Tltle of Judicial Officer

of cocaine, a Schedule II Controlled Substance.
Code. Section(s)

841(a) (l) , 846

 

and that this complaint is based on the following

@ Yes \:l No

- s
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e:-z§§rgad
TF‘O Char es E. Trevin
Signature of Complainant

 

at McAl len , Texas
City and State

SQMM

Signature of Judicial

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AO 91 (Rev. 5/85) Criminal Complaint ®

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United States Dlstrlct Court
Southem District of Texas
FILED
SOUTHERN DISTRICT OF TEXAS JUN 1 7 2008
UN|TED STATES OF Al\/|ER|CA Michael N. Milby, C|erk
V.
3) LOPE.Z-Morales , Victor Ivan CRIMINAL COMPLAINT
Mexican Citizen - 1983

HINoJosA-M , v' i; M l CASE NUMBEFt:
Lf> Mexican Ci:li::: - 1(9:5§r amle M.Og' 3a (.(,(l 'M

(Name and Address of Defendant)

l, the undersigned complainant being duly sworn state the following is true and correct to the best ot my

knowledge and belief. On Or June 16, 2008 in Hidalgo County, in the

Southeyn Dis'[ricf Of Texas defendant(g) did, (Track Statutory Language of Offense)

Knowingly and intentionally conspire and possess with the intent to distribute more than 50
kgs. of methamphetamine, that is approx. 95.8 kgs. of methamphetamine, a Schedule I
controlled substance, knowingly and intentionally Possess With the Intent to Distribute less
than 50 kgs. of Heroin, that is approx. 8.4 kgs. of Heroin, a Schedule I Controlled
Substance, knowingly and intentionally Possess With the Intent to Distribute less than 50
kgs. of cocaine, that is approx. 13 kgs. of cocaine, a Schedule II Controlled Substance.

 

 

in violation ot Tit|e 21 United States Code_ Section(s) 841(a) (1) , 846

l further state that l am a(n) TaSk FOIC€ OffiC€r and that this complaint is based on the following
Official Tltle

tacts:

See Attachment .

 

 

 

Continued on the attached sheet and made a part [E Yes E| NO
TFO Charles E. Trevi§
Signature of Complainant
ll ~ ms
Sworn to before me, and subscribed in my presence,
Jtine 17, 2008 at McAllen, Texas
Date City and State

Dorina Ramos, U.S. Magistrate Judge Q’L"~% `AL/L.._M

Name and Title of Judicial Ofticer Signature of Judicial

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ATTACHMENT

On 06/15/2008, at approximately 2244 hrs, McAllen Police responded to 362l W.
Bluebird Avenue, McAllen, Texas in reference to a burglary of habitation in progress
Upon arrival, police made contact with the residents identified as Jorge Alberto
VELASQUEZ and Claudia Denise LUNA. Upon police arrival, the suspects had already
fled the scene During the investigation, VELASQUEZ claimed that an armed suspect
broke down the front door to the residence and gained entry. VELASQUEZ claimed that
the armed suspect fired shots inside the home and then fled the scene VELASQUEZ
was very uncooperative with police and refused to provide further information on the
incident and refused to provide further description on the suspect(s).

Upon inspecting the home/property for evidence police discovered approximately 60
pounds of marijuana, a semi automatic handgun, and approximately 312,680.00 US
currency VELASQUEZ was also found to be an undocumented Mexican national in the
U.S. illegally. McAllen Police subsequently arrested VELASQUEZ on state charges for
Possession of Marijuana.

Further investigation at the crime scene (3621 W. Bluebird) revealed a horne rental
contract for a residence located at 4904 W. Walnut Avenue, McAllen, Texas. The person
renting the home listed on the contract was under the name of Hugo Silver TORRES-
Elizondo.

Police subsequently set surveillance at 4904 W. Walnut Avenue, McAllen, Texas and
observed a white Nissan Pathfinder Arrnada displaying temporary license plates and a
brown Chevy Impala displaying Texas license plate 257 -WZL parked in front of the
residence A short time later during surveillance, Agents observed a white Nissan
Maxima displaying Tamaulipas-Mexico license plate XCV-92-68 exit the garage and
drive away from the residence A McAllen police marked unit subsequently conducted a
traffic stop on the white Nissan Maxima for a traffic violation (failure to signal lane
change) at the 3800 block W. Pecan Avenue, McAllen, Texas.

McAllen Police Special Investigations Unit (SIU) Investigator Raul Garza approached
the scene of the traffic Stop and made contact with the driver, identified as Victor Ivan
LOPEZ-Morales. Investigator Garza explained to LOPEZ that an investigation was
being conducted and asked LOPEZ where he was coming from. LOPEZ told lnvesti gator
Garza that he was corning from his aunt’s residence located on Vine Avenue and 38th
Street (McAllen, Texas). Investigator Garza then explained to LOPEZ that he was
observed during surveillance leaving the garage at 4904 W. Walnut Avenue At that time
LOPEZ became very nervous and admitted to lnvesti gator Garza that he did in fact leave
the residence at 4904 W. Walnut Avenue lnvestigator Garza then asked LOPEZ if there
was contraband inside the residence LOPEZ then voluntarily admitted to lnvestigator
Garza that there was a large quantity of illegal drugs inside the residence at 4904 W.
Walnut Avenue, McAllen, Texas and further stated that there were three (3) males inside
the residence LOPEZ was detained at that time pending further investigation

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During surveillance at 4904 W. Walnut, police observed a male subject, later identified as
Victor Manuel HINOJOSA-Moreno, exit the residence and approach the Chevy Impala.

McAllen Police and US DEA Agents subsequently approached the residence at 4904 W.
Walnut Avenue, McAllen, Texas and made contact with HINOJOSA. HINOJOSA was
asked by police if he was the resident of the home HINOJOSA told police that he did
reside at the residence but was not the renter. HINOJOSA stated that the renter of the
home was named Hugo and was inside the residence

Police then knocked on the door and made contact with the resident, identified as Hugo
Silver TORRES-Elizondo. TORRES voluntarily admitted to police that he was renting
the residence and paid utilities at that location Police informed TORRES that a drug
investigation was being conducted and asked TORRES for consent to search his
residence TORRES then voluntarily signed a written consent form and gave police
consent to search his residence

During the search, police detained another male inside the residence The male was
identified as Ramiro LOPEZ-Camarillo.

A further search of the home revealed several bundles containing approximately 95.8
kilograms of methamphetamine approximately 8.4 kilograms of heroin, and 13
kilograms of cocaine inside the residence Also discovered inside the residence was
approximately 5.3 ounces of` marijuana and a loaded 9mm Luger semi automatic
handgun. (Note: The bundles of narcotics were discovered in several locations inside the
residence such as the kitchen cabinets, hallway storage cabinets and S/W bedroom closet.
The semi automatic handgun was located lying on top cfa mattress that was on the living
room floor. The marijuana was discovered in plain view scattered on a table in the nook
area of the home).

Victor Ivan LOPEZ-Morales, Victor Manuel HINOJOSA-Moreno, Hugo Silver
TORRES-Elizondo and Ramiro LOPEZ-Camarillo were all subsequently arrested and
were transported to the DEA McAllen District Office for interrogation.

Prior to interrogation all the suspects were advised of their Miranda warnings and all
voluntarily waived their Miranda rights

During interrogation Victor Ivan LOPEZ-Morales, Hugo Silver TORRES-Elizondo and
Ramiro LOPEZ-Camarillo all admitted to Agents that they were residing at the residence
(4904 W. Walnut Avenue) and had knowledge illegal narcotics were being stored inside
the residence They all admitted that they occasionally took small amounts of cocaine
from the stored bundles and consumed the cocaine, They also admitted that they assisted
in removing bundles of narcotics from load vehicles that would arrive at the residence for
and would store the bundles inside the residence They also admitted that they were
being paid US currency for their services at the residence They further admitted that

 

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they had knowledge of the handgun that was in the living room of the residence and
stated that the handgun was for protecting the narcotics

During interrogation Victor Ivan LOPEZ-Morales, Hugo Silver TORRES-Elizondo and
Ramiro LOPEZ-Camarillo also admitted to Agents that Victor Manuel HINOJOSA-
Moreno was residing at the residence had knowledge that illegal narcotics were being
stored inside the residence consumed cocaine that was removed from the stored bundles,
handled bundles of narcotics as they were being delivered to the residence and had
knowledge/access to the handgun that was in the living room.

During interrogation Victor Manuel HINOJOSA-Moreno denied involvement in drug
trafficking activities and denied knowledge of the narcotics and handgun that were
located inside the residence at 4904 W. Walnut Avenue (Note: Durin the investigation
it was revealed that HINOJOSA had an apartment located at 6800 N. 8t St. Apt. B,
McAllen, Texas. A consensual search of HINOJOSA’s apartment revealed a small
plastic baggie containing 10 grams of methamphetamine and approximately $3,500.00
US currency in the master bedroom closet. HINOJOSA told Agents that he lived alone
at the apartment Also during booking procedures at the McAllen Police Department,
jailers discovered a small plastic baggie containing .7 grams of cocaine and a small crack
cocaine rock weighing O.l grams inside HfNOJOSA’s pant front pocket

Victor Ivan LOPEZ-Morales, Victor Manuel HlNOJOSA-Moreno, Hugo Silver
TORRES-Elizondo and Ramiro LOPEZ-Camarillo were all subsequently arrested on
federal drug charges

